   Case 2:16-md-02740-JTM-MBN Document 7512-2 Filed 07/01/19 Page 1 of 4




                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA


In Re: TAXOTERE (DOCETAXEL)                         MDL NO. 2740
PRODUCTS LIABILITY LITIGATION


                                                    SECTION “H” (5)

THIS DOCUMENT RELATES TO:

Tanya Francis, Case No. 2:16-cv-16635
Barbara Earnest, Case No. 2:16-cv-17144


                           EXHIBITS 1 – 80 TO
          PLAINTIFFS’ STATEMENT OF MATERIAL FACTS IN DISPUTE




                               [FILED UNDER SEAL]




                                          1
  Case 2:16-md-02740-JTM-MBN Document 7512-2 Filed 07/01/19 Page 2 of 4




Dated: July 1, 2019                       Respectfully submitted,

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                                          2
  Case 2:16-md-02740-JTM-MBN Document 7512-2 Filed 07/01/19 Page 3 of 4




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                                    3
   Case 2:16-md-02740-JTM-MBN Document 7512-2 Filed 07/01/19 Page 4 of 4




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                                CERTIFICATE OF SERVICE

       I hereby certify that on July 1, 2019, I electronically filed the foregoing with the Clerk of

Court by using the CM/ECF system which will send a notice of electronic filing to all counsel of

record who are CM/ECF participants.

                                               /s/ M. Palmer Lambert
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